            Case 1:19-cr-20450-RNS Document 71 Entered on FLSD Docket 11/15/2021 Page 1 of 1

                                                          CO U RT M INUTES                                                                       Page2
                                           M agistrate ludge Alicia M Otazo-Reyes    .

                                  AtkinsBuilding Courthouse -10th Floor                                   D
                                                                                                          ate:11/15/21               Time:10:00AM
  Defendant:ALEX SAAB M ORAN                               J#:02538-
                  '                        506 Casek:19-204 0- R- COLA
  AUSA:                       /,                     n $
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                                  m e-z   Attorney: Jonathan arr(PHV)
  Violation: CONSP/COM MIT MONEYLAUNDERING
  Proceeding: RRC/ARRAIGNM ENT                    CJA Appt:
  Bond/PTD Held:C Yes C No     Recommended Bond:
  Bond Setat:STIP PTD                                                            C
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   Nr surrenderand/ordonotobtainpassports/traveldocs                                          Language: Spanish
   C ReporttoPTSas directed/or       x'saweek/monthby                                         Disposition:
     phone:      x'saweek/monthinperson
                                                                                                  vjjen Belj-tem *Brad W arnin
   C Raniom urinetesting by pretrlalService!                                                  Given*
         Treatmentasdeem ed necessary
  Nr Refrainfrom excessiveuseofalcohol                                                --
   f- Participateinmentalhealth asses
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   C M aintainorseekfulltime employment/education
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  î- No firearms                                                                     .-   -
  Nr Nottoencum berproperty                                                                           ,
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  Nr Maynotvisittransportationestablishments                                                                                     we
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         Curfew                       pm to          am paid by                               g               :          ie       yeoueenö
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      Allow ances:M edicalneeds, courtappearances                                                 )gfX    .       DWC
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  r Travelextendedto:                                                                         '

  r Other:                                                                                    f
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NEXT COURTAPPEAM NCE D
                      ate:                               Time:              Judge:
ReportRE Counsel:                                                                                                           Place:
PTD/Bond Hearing:
Prelim/ArraignorRemoval:
statusConference RE:
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D.A.R.- -   1D (('    -   -   -   -
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